439 F.2d 718
    Eloise ADELT, Appellant,v.RICHMOND SCHOOL DISTRICT, Richmond Unified School District, Doe 1, Doe 2, Doe 3, Doe 4, Doe 5, Doe 6, Doe 7, Doe 8, Doe 9, Doe 10, Appellees.
    No. 25703.
    United States Court of Appeals, Ninth Circuit.
    March 9, 1971.
    
      Eloise Adelt, in pro per.
      John B. Clausen, County Counsel, Saul Fishman, Deputy County Counsel, Martinez, Cal., for appellees.
      Before MERRILL, KOELSCH and WRIGHT, Circuit Judges.
      PER CURIAM:
    
    
      1
      Plaintiff appeals from a judgment of the district court dismissing her complaint without leave to amend. We affirm.
    
    
      2
      Plaintiff's allegations affirmatively show a lack of federal jurisdiction of her claim. Diversity is non-existent — the parties all are citizens and residents of California. Nor is the action one which "arises under the Constitution, laws or treaties of the United States" and hence within the purview of 28 U. S.C. § 1331(a). To the contrary (and despite plaintiff's conclusionary characterization of defendants' acts as violative of due process and equal protection, etc.) the claim is simply one for breach of contract, the charge being that the defendant school district refused to perform certain obligations imposed upon it under a teaching contract entered into with plaintiff.
    
    
      3
      Plaintiff did litigate her claim in the appropriate state court; the judgment went against her and was affirmed on appeal. Adelt v. Richmond School District, 250 Cal.App.2d 149, 58 Cal.Rptr. 151 (1967). Thereafter, the California Supreme Court denied her petition for hearing. The present suit, in effect, constitutes an attempt to have a federal court correct errors assertedly made in the state proceedings. However, the asserted errors are not of Constitutional dimension and present no federal question.
    
    